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                   Exhibit 2
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO


HUNTER DOSTER, et al.,                          )
                                                )
       Plaintiffs,                              )
                                                )
               v.                               )             No. 1:22-cv-00084
                                                )
FRANK KENDALL, et al.,                          )
                                                )
       Defendants.                              )
                                                )


        DECLARATION OF LIEUTENANT GENERAL KEVIN B. SCHNEIDER

I, Kevin B. Schneider, hereby state and declare as follows:

1.     I am a Lieutenant General in the United States Air Force currently assigned as the

Director of Staff (DS), Headquarters United States Air Force at the Pentagon, Washington D.C.

I have been in this position since September 2021. As a part of my duties, I am responsible for

overseeing Air Force service member COVID-19 vaccination status reporting.

2.     I am generally aware of the allegations set forth in the pleadings filed in this matter. I

base this declaration upon my personal knowledge and upon information that has been provided

to me in the course of my official duties, and I make this declaration on behalf of the Department

of the Air Force, which is comprised of the U.S. Air Force and U.S. Space Force.

3.     As of July 12, 2022, the Department of the Air Force still has 2,847 pending Religious

Accommodations Requests (RARs) at Decision Authority Level to be exempt from the COVID-

19 vaccination requirement: 378 Active Duty Air Force, 1 Air Force Reserves (including

Individual Mobilization Augmentees), 1 Space Force, and 2,467 Air National Guard.

Additionally, the Department of the Air Force still has 575 pending RAR appeals: 321 Active

Duty Air Force, 68 Air Force Reserves (including Individual Mobilization Augmentees), 13
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Space Force, and 173 Air National Guard. For the Air National Guard, many of the requests are

at the state, not federal level. This means they have either not yet been submitted to the National

Guard Bureau for review or they have been returned to the state for further action.

4.     As of July 12, 2022, the Department of the Air Force has approved 135 religious

accommodation requests to be exempt from the COVID-19 vaccination requirement: 106 Active

Duty Air Force, 22 Air Force Reserves (including Individual Mobilization Augmentees), 3 Space

Force, and 4 Air National Guard.

5.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct. Executed this 21st day of July 2022.




                                                     KEVIN B. SCHNEIDER
                                                     Lieutenant General, USAF
                                                     Director of Staff




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